Case 2:10-cr-00008-JPB-JSK Document 246 Filed 03/18/15 Page 1 of 7 PageID #: 960
Case 2:10-cr-00008-JPB-JSK Document 246 Filed 03/18/15 Page 2 of 7 PageID #: 961
Case 2:10-cr-00008-JPB-JSK Document 246 Filed 03/18/15 Page 3 of 7 PageID #: 962
Case 2:10-cr-00008-JPB-JSK Document 246 Filed 03/18/15 Page 4 of 7 PageID #: 963
Case 2:10-cr-00008-JPB-JSK Document 246 Filed 03/18/15 Page 5 of 7 PageID #: 964
Case 2:10-cr-00008-JPB-JSK Document 246 Filed 03/18/15 Page 6 of 7 PageID #: 965
Case 2:10-cr-00008-JPB-JSK Document 246 Filed 03/18/15 Page 7 of 7 PageID #: 966
